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    Trevi Tyger
     Character Manual




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  TreviTyger Poses
  Faces




  Happy                              Happy Squash     Worried




  Sad                                Sad Stretched    Annoyed




  Sneer                              Evil Smile       Cunning Plan


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TreviTyger Poses
Faces




Dreamy                   Shouty                     Irony




Impending Doom           Awe                        Smug


These are just a small sample of the achievable expressions of emotions
from the current rig. More and more expressions can be added as the
character is developed over time.




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  TreviTyger Poses




  Text




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TreviTyger Poses




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  Logo



  Main Logo

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  developed from the handwriting of Trevor Kevin Baylis.




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Trevi Tyger Font



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  Trevi Tyger
  Character developments



                                         Tyger! Tyger! burning bright
                                          In the forests of the night,
                                         What immortal hand or eye
                                  Dare frame thy fearful symmetry?

                               From William Blake’s ‘The Tyger’



  Main Character name
  Trevi Tyger

  Antagonists names
  Iron Ani Villy (Iron Annie)
  Virgyl

  Game Name
  Trevi Tyger, Irony skies, Iron in the sky,


  Sorbriquets
  Trevi Tyger – Trev Tyger, Trevi tiger, Trevi the tyger, Trevi the tiger, Trevor
  the tiger, Trevy the tiger, Trev the tiger, Big T, TT, Tee-Tee, Ti-Ti, Ti-Ty. Trevi
  cat, Trevy the cat,

  Iron Ani Villy – Iron Annie, Iron Ani Villy the Anvil, The Big A, Iron Ani

  Virgyl – Virgyl the monkey, Virgil the monkey, Virgil, Big-V, V-Man.

  Slogan Phrases
  “There is iron in the sky”, “There is irony in the sky” ,“There is irony in the
  skies”, “I am a fearsome tiger and don’t you forget it”, “Pfft, lions”,“Pfft”.
  “what? Go that way? I’m not going that way you must be crazy!”




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Trevi Tyger
Character developments



Main Habitat
Minimalist cartoon universe governed by cartoon physics. A Kafkaesque
nightmare given the conflict for no reason.

Future habitats
Any other habit chosen as required
Dante’s universe for future film.

Trevi Tyger physical description
Trevi Tyger is a 3D CGI cartoon tiger. His head and feet are large but he has
skinny limbs and a pear shaped body. He has large flattened conical points
for ears, large white eyes with a black pupil. He has fat cheeks and a bulbous
pink nose. He is predominately orange in colour with black rings around his
arms, legs, neck, body, tail and ears. His belly and throat are white as are the
tips of his fingers, tail, ears and toes. Additionally he has a white jawline and
some white points below his ears.

Mode of speech
He has a very small vocabulary as yet but could be extended in the future.
He can comunicate with signs.

Original Language
English.

Props
Any number of items that spring from the imagination of the author. Similar to
Wile E Coyote in this regard.

Philosophy
Esitentialism, Theology, ideology and pragmatism in some sence as foils for
each other.

Continuing Mission
To search for who is responsible for dropping an anvil on him.

Target audience - Universal. Children and Adults male and female.

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   Trevi Tyger
   Character development

   Trevi Tyger is a cartoon tiger living in a cartoon universe which is governed
   by cartoon laws of physics.

   He acts and walks in classic cartoon style based somewhat on the classic
   style of Tex Avery Et al.

   He doesn’t speak much. He does conunicate with signs.

   Oddly, an anvil called Iron Annie Villy will fall on his head at any time and
   from anywhere.

   Trevi Tyger eventually becomes aware of Iron Annie Villy as a kind of
   nemesis.

   His world is something of Kafkaesque nightmare because of his relationship
   to Iron Anni Villy falling on him for no discernible reason.

   Initial cartoons containing Trevi Tyger are short (a few 10s of seconds) and
   involve him being aware of the viewer in some way. Lots of looking into
   camera for example.

   Iron Ani Villy does not need any reason to fall on him but it seems sometimes
   somehow related but not limited to, the seven vices. For instance, in
   moments of pride, jealousy or anger etc.

   As more and more cartoons are made he will eventually seek try to
   understand why it is happening to him.




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Future of Trevi Tyger
character development

In time Trevi Tyger will meet another character (possibly a monkey with the
name Virgil or Machiavelli).

Initially he will be in conflict with this character.

In the future, once Trevi Tyger’s character is more developed, slightly longer
cartoons will be made including the conflict with this new character but still
the cartoon will end with Ani Villy falling.

The new character will not be revealed in it’s entirety. For instance there
might just be a hand striking Trevi Tyger from out of shot. (or water from a
hose...or something...but never revealed what the source actually is....might
be urine...no one will ever know....or admit to it...even when asked).

Incidences of minor violence towards TreviTyger from the new character will
develop both characters further by the way conflicts are played out.

The new character will notice the weirdness of the relationship between Trevi
Tyger and Ani Villy. Eventually, the new character will befriend Trevi Tyger
and help him to work out why Ani Villy is persecuting him.

The new character will help guide Trevi Tyger on a long journey full of
adventure and new conflicts to confront. For example a journey though Hell
similar to Dante, Heracles, Aenus and or Perseus.




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   Game Ideas



   TreviTyger Game idea.

   “we can think of game emotions as emotions of competition; they are
   emotions generated due to winning, losing, accomplishment, and frustration.”

   http://lmc.gatech.edu/~cpearce3/DiGRA07/Proceedings/111.pdf (Emotion
   types. p2)

   TreviTyger appears on screen looking at the gamer (important to make eye
   contact). The gamer touches the top of the screen and an anvil appears
   and starts to fall. TreviTyger notices the anvil and takes evasive action in a
   comically cartoon way. The ways he avoids the falling anvil will have been
   developed within the cartoon shorts previously made.

   The gamer will have a sense of frustration and will try to drop another anvil.
   TreviTygers actions are repeated. The gamers actions are repeated and so
   on and so on.

   Possible tactics for winning. Each level, The anvils will stay on the ground
   and the gamer must try to trap TreviTyger to stop him escaping from the anvil
   dropping. There could be a lifespan on the anvils so that they disappear and
   allow further possibilities to escape a trapped situation. TreviTyger can climb
   or jump over them comically.

   Additionally, the roles can be reversed so that the gamer is avoiding anvils.
   Not avoiding anvils can lead to a sense of frustration to the gamer. Seeing
   how long you can survive may be part of the challenge.




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Game Ideas



The game controls will have a degree of lag instilled in them. For instance,
rather than just moving left or right there will be some preliminary anticipation
type acting from TreviTyger before he moves. These can be randomly
programmed into the standard movements of walking running climbing etc.
For instance, lifting a leg up and leaning backwards before running forwards.
Double takes or screaming etc. Even looking at the gamer and refusing to
move as if the gammer is suggesting a bad idea! Holding up a sign maybe
“what? Go that way? I’m not going that way you must be crazy!”

These things can increase the level of frustration and add to more button
pressing...and swearing :)

This should be fun :)

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   Foils and Props
   Iron Annie Villy

   Iron Ani Villy character development Ideas

   The Anvil lets call it Annie-Ville or Iron AniVilly works better because of the
   ‘i’ and ‘y’ relation ship to Trev’i’T’y’ger. Additionally, there is some added
   originality to distinguish it from other cartoon anvil props from other cartoons.

   For instance, as the animation shorts develop, TreviTyger can take evasive
   action. Maybe just side stepping Iron AniVilly as it falls. However, as in
   nature when prey works out a defence for the hunter, the hunter must adapt.
   So even though TreviTyger has avoided the first attack a hatch can open
   some where on Iron AniVilly and a gun appears pointing at Trevi Tyger. So
   he ducks just as the gun fires. Not to be outdone the gun goes back in the
   hatch and a knew sci-fi looking gun pops up. TreviTyger is too bemused to
   avoid this gun. Lets say this gun is a Shrink Ray gun and shrinks him. Then
   a mortar gun appears and fires a smaller anvil into the air as the shrunken
   TreviTyger tries desperately to run away in panic which of course ends in the
   usual dénouement.

   Once we have established that the AniVilly can change into things we can
   do other stuff like drop a Jelly AniVilly, or a Fish Tank AniVilly full of Piranhas
   or a Shark. Or even Particle AniVilly that is made of sand and is poured over
   TreviTyger. We can even work from different angles such as an Inflatable
   AnVilly that activates when TreviTyger stands on it to catapult him into the air.




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Foils and Props
Virgyl the monkey

So named because he was once placed in a room with a typewriter for
and endless amount of time to see if he could write the complete works of
Shakespeare. However, he actually, quite by chance,wrote the Aeneid by
Virgil instead.

He has a long career history which accounts for his somewhat, though
slightly dubious, sage like wisdom. He was a cigarette tester, astronaut,
taught humans how to do sign language (etc...etc...insert monkey history
here.... etc)

He has quite literally been to Hell and back so this is why he can guide
TreviTyger though Hell relatively unscathed.

He is a Wiley character and can extract himself from any difficult situation
with wit and intelligence. He tells stories with the humour of Douglas Adams,
Alexi Sayle, Monty Pyton.

Example Story (taken from my facebook comments)

“Don’t mention the irradiated sticklebacks! They arrived soon after the
Chernobyl disaster. Sucked up from a small pond by a radioactive tornado
which resulted from the sudden heat exchange in the atmosphere. A cloud
drifted towards Finland and they fell like fiery meteorites from the skies. By
this time they had grown into hideously deformed monsters which had a
penchant for horribly complicated bureaucracy. Soon they were running the
local municipal council. I can’t say more...I can see one now heading this way
with some form that needs filling in about posting comments on Facebook...
No!....Get away! No!....Nooooooooooo!”


   Character Design yet to be decided upon.



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   Example script
   At the gates of Hell


   Trevi and Virgil approach gates of hell. They are asked by someone at
   the gate (Gatekeeper for now) if they have any hope.

   Gatekeeper noticing them enter though the gates– Oi you got any hope to
   declare? You can’t co through that gate with hope. Read the sign.

   Points to the top of the gate which says ‘Abandon All Hope Ye Who Enter’

   Trevi looks at Virgil not knowing how to respond.

   Virgil produces a sign saying – sorry we can’t read.

   Gatekeeper trying to be clever, er, how did you make to sign then.

   Virgil pulls a card out of somewhere on his person and waves it around in
   front of the gatekeeper but does not hold it still enough for the gatekeeper to
   read.

   Virgil – Artistic licence!

   Virgil just drags Trevi through the gates anyway

   Trevi is slightly bemused by the whole encounter

   Iron Ani Villy falls on top of the gatekeeper.




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Published Works
to Date 31 March 2014




Links from the year 2014

https://www.facebook.com/trevor.baylis.7

https://www.youtube.com/watch?v=8GDOTNZ8Ozw&list=UUVoCs8_xaPVm_rOEb4oijoA

https://www.youtube.com/watch?v=jFGr_VnUk2k&list=UUVoCs8_xaPVm_rOEb4oijoA

https://www.youtube.com/watch?v=QGCDdhHrWOo&list=UUVoCs8_xaPVm_rOEb4oijoA

https://www.youtube.com/watch?v=UamqIH76XQk&list=UUVoCs8_xaPVm_rOEb4oijoA

https://www.youtube.com/watch?v=lq9Tn84HcxU&list=UUVoCs8_xaPVm_rOEb4oijoA

https://www.youtube.com/watch?v=Anyx7arCvz8&list=UUVoCs8_xaPVm_rOEb4oijoA


Please contact Trevor Baylis at
trevor.baylis@gmail.com for access to these links if required.




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   Sketches




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Sketches




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   Drawing Formula for
   Head




                   TreviTyger head freehand sketch formula

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Example Storyboard




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   Previous incarnations



   A previous cartoon was made in 2004 by Trevor Kevin Baylis whilst studying
   at the London Metropolitan University but this has been superseded by the
   2014 version which has been completely reworked.




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Previous incarnations



An image of the superceded 2004 Trevi Tyger from a previous showreel
belonging to Trevor Kevin Baylis.




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